 Fill in this information to identify your case:

 Debtor 1                  Daniel Herrera, IV
                           First Name                       Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF MICHIGAN

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's          Nationstar Mortgage, LLC                            Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of        46 Mackinaw Court Saginaw, MI                     Reaffirmation Agreement.
    property              48602 Saginaw County                              Retain the property and [explain]:
    securing debt:        debtor's residence

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:                F-S Properties, LLC                                                                         No

                                                                                                                           Yes

 Description of leased         Commercial Lease for property located at 5560 State St., Saginaw, MI
 Property:                     48603




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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                       18-21830-dob             Doc 4          Filed 09/27/18        Entered 09/27/18 12:57:31             Page 1 of 2
 Debtor 1      Daniel Herrera, IV                                                                    Case number (if known)


 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Daniel Herrera, IV                                                       X
       Daniel Herrera, IV                                                               Signature of Debtor 2
       Signature of Debtor 1

       Date        September 27, 2018                                               Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                             page 2

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                 18-21830-dob                   Doc 4          Filed 09/27/18        Entered 09/27/18 12:57:31                Page 2 of 2
